AO 91 (Rev. 08/09) Criminal Complaint


                                     United States District Court                                                SUSAN Y. SOONG
                                                                for the                                               district COURT
                                                                                                          NORTH DISTRICT OF CALIFORNIA
                                                    Northern District of California


                 United States of America
                               V.

                         John 0. Fry,                                     Case No.

                                                                                 3       19       70 178
                           Defendant(s)


                                                      CRIMINAL COMPLAINT


          I, the complainant in this case, state thatthe following is true to the bestof my knowledge and belief.
On or about the date(s) of              from May 2018 to June 2018        in the county of           San Francisco           in the

     Northern          District of            California        , the defendant(s) violated: Seeattachment.
             Code Section                                                   Offense Description
31 U.S.C. § 5322(a)                             Unauthorized disclosure of suspicious activity reports.




Approved as to form:


          imberly Hopkins                                                                                 i £Eir
          This criminal complaint is based on these facts:
See attached AFFIDAVIT in support of criminal complaint.




          af Continued on the attached sheet.



                                                                                              Complainant's signature

                                                                                      Linda Cieslak. Special Aaent - TIGTA
                                                                                               Printed name and title


Sworn to before me and signed in my presence.


Date:                  ^.'^1 f                                                                   Judge's signature

City and state:                     San Francisco. California                    Hon. Laurel Beeler. U.S. Magistrate Judge
                                                                                               Printed name and title
